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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

 NICOLE FERGUSON,                                                         Civ. 21-4086

               Plaintiff,

        vs.                                            COMPLAINT AND REQUEST FOR
                                                             TRIAL BY JURY
 EAST RIVER EXPEDITE, INC., d/b/a THE
 UPS STORE,

               Defendant.


       Plaintiff Nicole Ferguson brings this discrimination in employment action, stating the

following claims against East River Expedite, Inc., d/b/a The UPS Store:


                                            JURISDICTION

       1.      This action for discrimination on the basis of sex arises under Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”).

       2.     Nicole Ferguson (“Ferguson”) is an adult resident of Lennox, South Dakota.

       3.     East River Expedite, Inc., doing business as The UPS Store, is a business services

center that operates store # SF2125 at 2601 South Minnesota Avenue, Suite 105, Sioux Falls, SD,

57105 (“The UPS Store”).

       4.     At all relevant times, The UPS Store was an employer within the meaning of 42

U.S.C. § 2000e(b).

       5.     At all relevant times, Ferguson was an employee of The UPS Store within the

meaning of 42 U.S.C. § 2000e(f).

       6.     Ferguson timely filed a Charge of Discrimination with the Equal Opportunities

Commission on July 23, 2020, based on sex (pregnancy).

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       7.      The Equal Opportunities Commission issued its Notice of Right to Sue on February

22, 2021.

       8.      As such, this Court has original jurisdiction to hear this Complaint and to adjudicate

the claims stated herein pursuant to 28 U.S.C. § 1331.

       9.      Venue is proper under 28 U.S.C. § 1391 because the events or omissions giving

rise to the claims occurred within the Southern District of the District of South Dakota.


                                     FACTUAL ALLEGATIONS

       10.     Ferguson was hired at The UPS Store in 2016.

       11.     After only a few months of employment, Ferguson was promoted to Store Manager.

       12.     In this position, she excelled and received positive feedback from her then-

supervisor, Reva Johnson.

       13.     In February 2019, Dennis Cromwell (“Cromwell”) purchased The UPS Store.

       14.     A few months later, Cromwell conducted a performance review with Ferguson,

giving her a “good review,” a raise in compensation, and recommended her for educational courses

to advance her employment position.

       15.     Then, in or around May/June 2019, Ferguson announced to Cromwell and her

coworkers that she was pregnant.

       16.     Cromwell thereafter began treating Ferguson much differently and adversely,

including but not limited to asking Ferguson if she was still on her medication (referring to her

pregnancy).

       17.     There was no formal maternity leave policy in place at The UPS Store.

       18.     In discussing maternity leave with Cromwell, Ferguson stated she anticipated

taking eight to ten weeks of leave, which Cromwell approved.


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       19.     On January 27, 2020, Ferguson gave birth to her son and began maternity leave.

       20.     Less than one month later, on February 21, 2020, Cromwell began contacting

Ferguson and asking her when she was planning to return to work.

       21.     Ferguson responded that although she initially planned to take eight to ten weeks

of maternity leave, she now desired to take twelve weeks.

       22.     Cromwell responded “Ok.” He did not tell her she could not take the additional

leave, nor did he tell her it would be problematic for Ferguson to take additional leave.

       23.     Two days later, while Ferguson was still on maternity leave, Cromwell reached out

to Ferguson again, asking if she would be willing to meet with him and other managers for a two-

hour meeting to discuss “staffing/organizational issues and plan[s] for summer.”

       24.     A meeting occurred on Monday, March 9, 2020, per Cromwell’s request, at which

point Cromwell informed Ferguson that he was “frustrated” and was “not pleased” about her taking

additional maternity leave. At no point, however, did Cromwell inform Ferguson that she could

not take the additional leave.

       25.     On March 30, 2020, Cromwell held a meeting with other employees, informing

them that he was going to terminate Ferguson. In discussing Ferguson’s impending termination,

he mentioned the fact that her termination related to her pregnancy, namely her desire to take

twelve weeks of maternity leave.

       26.      The topic of the meeting then switched to the COVID-19 pandemic and how it may

impact The UPS Store. One employee asked if there were stores closing. Cromwell stated that

while some stores were closing, they (i.e., Defendant’s stores) were fortunate. In fact, despite the

pandemic, in March 2020 Defendant’s stores did $25,000 more in business than they had in March




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2019. Cromwell followed-up with information by saying “nobody [was] in danger. [He will] keep

people on.”

       27.     Yet, three days later, on April 2, 2020, Cromwell requested another meeting with

Ferguson during which he stated he was “anticipating a huge drop-off in business” and “there is

no way he can bring her back.” Accordingly, Cromwell told Ferguson that because of The UPS

Store’s financial situation, he cannot keep people and he must terminate her.

       28.      In terminating her, Cromwell said, “it has nothing to do with your performance. It

is nothing you did or didn’t do. I just can’t afford⸻I gotta get rid of people.” Later in the

conversation, he followed up these sentiments by saying, “You have been and you are a valuable

employee . . . but I gotta try to keep the business surviving.”

       29.     Notably, during the EEOC investigation process, Cromwell offered a number of

verified factual statements, purporting said factual statements to be “true and correct to the best of

[his] knowledge, and accurately reflect the position of [The UPS Store].”

       30.     However, there were multiple untruths contained in in his verified statements,

including that Cromwell informed Ferguson she was being terminated because of her

“performance, unilateral decision to take unauthorized leave . . . , and that the store would be over-

staffed as a direct result of the COVID-19 pandemic.”

       31.     Moreover, although Cromwell informed Ferguson that she would not be the only

employee terminated and that for the foreseeable future he has to “get rid of people,” on

information and belief, Ferguson has been the only employee terminated.

       32.     That Cromwell was willing to lie, in a verified statement, to the EEOC regarding

the circumstances under which Ferguson was terminated is evidence of pretext.




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                                            COUNT I
                         Sex/Pregnancy Discrimination in Violation of
                            Title VII of the Civil Rights Act of 1964
                         and the Pregnancy Discrimination Act of 1978

       33.     Plaintiff incorporates the foregoing paragraphs by reference.

       34.     United States Code chapter 42 section 2000e-2(a)(l) provides that it is unlawful for

an employer “to fail or refuse to hire or to discharge any individual, or to otherwise discriminate

against any individual with respect to [her] compensation, terms, conditions, or privileges of

employment, because of such individual’s .. . sex[.]”

       35.     The Pregnancy Discrimination Act of 1978 made it clear that Title VII applies to

discrimination based on pregnancy, stating employers must treat “women affected by pregnancy

. . . the same for all employment-related purposes . . . as other persons not so affected but similar

in their ability or inability to work.” 42 U.S.C. § 2000e(k).

       36.     Ferguson was a member of a protected class.

       37.     Ferguson was qualified for her position as Store Manager and had been performing

her duties adequately.

       38.     Ferguson was terminated on the basis of her sex, pregnancy, and related maternity

leave, which constituted intentional discrimination against Ferguson by Defendant on the basis of

her sex.

       39.     Ferguson was treated less favorably than similarly situated male employees and

female employees who were not pregnant.

       40.     Defendant intentionally engaged in unlawful employment practices in violation of

42 U.S.C. § 2000e-2.




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          41.   As a result of Defendant’s conduct, Ferguson has suffered and will continue to

suffer past and present loss of income, mental anguish, emotional distress, humiliation,

embarrassment, loss of reputation and other damages in an amount in excess of $75,000.

          42.   Ferguson is entitled to attorneys’ fees and costs incurred in connection with these

claims.

          43.   Ferguson is entitled to punitive damages because the above-alleged acts were

committed with malice, or reckless or deliberate disregard for Ferguson’s rights and safety.

                                          COUNT II
                               Sex Discrimination in Violation of
                               SDCL § 20-13-10 (State Law Claim)

          44.   Plaintiff incorporates the foregoing paragraphs by reference.

          45.   Pursuant to SDCL § 20-13-10, “It is unfair or discriminatory practice for any

person, because of . . . sex . . . to discharge an employee, or to accord adverse or unequal treatment

to any person, employee, or intern with respect to application, hiring, training, apprenticeship,

tenure, promotion, upgrading, compensation, layoff, or any term or condition of employment.”

          46.   Defendant treated Ferguson adversely and unequally in her employment because of

her sex, specifically her pregnancy and related maternity leave.

          47.   Defendant intentionally engaged in unlawful employment practices in violation of

SDCL § 20-13-10.

          48.   As a result of Defendant’s conduct, Ferguson has suffered and will continue to

suffer past and present loss of income, mental anguish, emotional distress, humiliation,

embarrassment, loss of reputation and other damages in an amount in excess of $75,000.

          49.   Ferguson is entitled to attorneys’ fees and costs incurred in connection with these

claims.



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       50.     Ferguson is entitled to punitive damages because the above-alleged acts were

committed with malice, or reckless or deliberate disregard for Ferguson’s rights and safety.

       WHEREFORE, Plaintiff Nicole Ferguson prays for judgment against Defendant East River

Expedite, Inc., d/b/a The UPS Store as follows:

       A.      For all relief available to Plaintiff, including compensatory relief and damages

arising from loss of past and future income, benefits, emotional distress, and other damages, with

interest on such amounts, and punitive damages in an amount in excess of $75,000;

       B.      For Plaintiffs attorneys’ fees, costs and disbursements incurred herein; and

       C.      For such other and further relief available.

       Dated at Sioux Falls, South Dakota, this 10th day of May, 2021.


                                              DAVENPORT, EVANS, HURWITZ &
                                              SMITH, L.L.P.

                                              /s/ Ashley R. Brost
                                              Reece M. Almond
                                              Ashley R. Brost
                                              206 West 14th Street, P.O. Box 1030
                                              Sioux Falls, SD 57101-1030
                                              Telephone (605) 336-2880
                                              Facsimile (605) 335-3639
                                              E-mail: ralmond@dehs.com
                                                       abrost@dehs.com
                                                  Attorneys for Plaintiff Nicole Ferguson



                                 DEMAND FOR JURY TRIAL


       Plaintiff hereby respectfully demands a trial by jury on all issues so triable.


                                              /s/ Ashley R. Brost
                                              Ashley R. Brost

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